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 1                                                                    The Hon. Robert J. Bryan
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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
10    UNITED STATES OF AMERICA,                           NO. CR20-018-RJB
11                             Plaintiff,
12                        v.                              FORFEITURE BILL OF
                                                          PARTICULARS
13
      MICHAEL JOHN SCOTT,
14
                               Defendant.
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18          The United States, by and through its undersigned counsel, hereby submits this
19 Forfeiture Bill of Particulars pursuant to Fed. R. Crim. P. 7(f) and 32.2(a).
20          1.      As alleged in the Superseding Indictment, the United States is seeking the
21 forfeiture of property in this case, pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924(d)(1) and
22 by way of 28 U.S.C. § 2461(c), and 18 U.S.C. § 982(a)(1), of the following property:
23                  a.    Fourteen thousand, one hundred dollars ($14,100.00), more or less,
24                        seized from a 2014 black BMW 535 bearing Washington license plate
25                        BMV064, located in Whatcom County, Washington, on January 30,
26                        2020;
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     Forfeiture Bill of Particulars - 1                                  UNITED STATES ATTORNEY
                                                                        700 STEWART STREET. SUITE 5220
     United States v. Michael John Scott, CR-20-018-RJB                   SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
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 1                  b.    Nine thousand, nine hundred and eighty dollars ($9,980.00), more or
 2                        less, seized from 8024 150th Street SE, Snohomish, Washington, on
 3                        January 30, 2020;
 4                  c.    Two gold fifty-dollar ($50) bars, seized from 8024 150th Street SE,
 5                        Snohomish, Washington, on January 30, 2020;
 6                  d.    Two one-ounce gold bars, seized from 8024 150th Street SE,
 7                        Snohomish, Washington, on January 30, 2020;
 8                  e.    Four wristwatches, to include: (1) a limited edition Chicago Cubs
 9                        wristwatch; (2) a silver Rolex wristwatch; (3) a Gucci wristwatch; and
10                        (4) a ladies Rolex wristwatch, all seized from 8024 150th Street SE,
11                        Snohomish, Washington, on January 30, 2020;
12                  f.    Two diamond rings, seized from 8024 150th Street SE, Snohomish,
13                        Washington, on January 30, 2020; and
14                  g.    A sum of money representing the proceeds that MICHAEL JOHN
15                        SCOTT obtained as a result of the Conspiracy to Distribute Controlled
16                        Substances alleged in Count 1 of the Indictment.
17 Dkt. No. 26, at pp. 7-10.
18          2.      The United States hereby gives notice that, in addition to all the forfeiture
19 allegations contained in the Superseding Indictment, the United States further alleges that
20 the following property is subject to forfeiture:
21                  h.    A Dodge Ram 2500, VIN No. 3D7UT2CLXBG564155,
22                        Washington State License No. C40349F, seized on or about
23                        January 30, 2020, from the Defendant’s residence located in
24                        Snohomish, Washington.
25          3.      Pursuant to 21 U.S.C. § 853 and 18 U.S.C. § 982(a)(1), upon conviction of
26 any of the offenses charged in Counts 1 through 3, 6, and 7 of the Superseding
27 Indictment, Defendant Michael John Scott shall forfeit to the United States any property
28 constituting or derived from, or traceable to any proceeds the Defendants obtained,

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 1 directly or indirectly, as the result of such offenses, and shall also forfeit any property
 2 used, or intended to be used, in any manner or part, to commit or to facilitate the
 3 commission of such offenses – including, but not limited to, the above-identified
 4 property.
 5
 6          DATED this 9th day of September, 2021.
 7
 8                                                    Respectfully submitted,
 9                                                    TESSA M. GORMAN
                                                      Acting United States Attorney
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11
                                                        s/ Jehiel I. Baer
12                                                    JEHIEL I. BAER
                                                      Assistant United States Attorney
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                                                      700 Stewart Street, Suite 5220
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                                                      Jehiel Baer@usdoj.gov
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 1                                    CERTIFICATE OF SERVICE
 2
 3          I hereby certify that on September 9, 2021, I electronically filed the foregoing
 4 Forfeiture Bill of Particulars with the Clerk of the Court using the CM/ECF system,
 5 which automatically serves the parties of record.
 6
 7                                                      s/ Donna R. Taylor
                                                      DONNA R. TAYLOR
 8
                                                      FSA Paralegal III, Contractor
 9                                                    United States Attorney’s Office
                                                      700 Stewart Street, Suite 5220
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